Case 1:18-cr-00505-RBK Document 38 Filed 02/08/19 Page 1 of 13 PageID: 269




   Kenneth Paul Junior
    Secured Party,
   c/o: John Barry, Notary Public
                                                                                               CtJ
   232 Amherst Ave.                                                                            (.l)_
                                                                                      ~             ,,_
   'Pemberton, New Jersey                                                             JI       ~(/)
                                                                                     r,i
                                                                                      CD
                                                                                               c-3~
                                                                                           -J--l"


     IN THE UNITED STATES DISTRICT COU&TSi:;J~
        FOR THE DISTRICT OF NEW JERSEY 1-1 ~~~~!i
                                             fTiD                                              -.,....,C
                                                                                               i'.,~~
                                                                                               rn-,
      THE UNITED STATES OF AMERICA,                                                  C)        -<
                                                                                  .c
      Plaintiff (alleged)                             Docket# 11-18-cr-00505-001 (RBK)          .
      V.

      KENNETH CRAWFORD, JR,
      Defendant (alleged)




           \
     NOTJCE OF CONDITIONAL ACCEPTANCE AND MOTION TO
                         DISMISS

   Comes now Kenneth Paul Junior in Pro pria Persona as the authorized representative of
   the juristic person, ens legis, Defendant KENNETH CRAWFORD, JR, waiving no tights
   remedies or defenses whether statutorily or procedural, having the priority security·
   interest in all property and collateral both registered and unregistered belonging to the
   Defendant, As holder in due course and creditor, with rights of enforcement of the
   instrument issued (indictment) in the above captioned case docket. Appearing specially
   not generally upon this NOTICE to conditionally accept the "Status Conference"
   schedulect·i.February 2019 upon the following conditions: ·

      1. Upon the presentation of any verified evidence that the undersigned will not be
           making a special appearance in pro pria persona as the authorized representative
           of the Defendant KENNETH CRAWFORD, JR, as the holder in due course and
           having rights of enforcement of the indictment instrument.
      2. Proof of claim\hat the undersign is not attending merely for the purpose of
         . enforcement of the authenticated record agreement between the parties (The
           Record, Exhibit A), proof of claim that The Record has not setoff, settled and
           closed the accounting for docket #l-18-cr-00505-001
      3. Upon proof of claim that The Record is insufficient to dismiss the case docket # 1-
           18-cr-00505-001 with prejudice.
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    4. That the authorized representative is compensated for attendance in accordance
       with the agreed fee schedule. Or proof of claim that involuntary servitude is legal
       in the United States.
    5. That no errors in spoken words circumvent The Record between the parties, or are
       construed as dishonor or argument.
    6. That an administrative order be given to release all property belonging to the
       Defendant as well as the agreed upon distribution from the trust.

 Accordingly, the undersigned now directs the court to dismiss the above docketed action
 by invoking the doctrine of estoppel by acquiescence. Let the record show that your
 fiduciary duty as alleged "government agents/employees" imposes upon you a legal and a
 moral duty to answer, and your silence can only be equated as fraud where there is a legal
 or moral duty to speak or where an inquiry left unanswered would be intentionally
 misleading. Silence is a species of conduct, and constitutes an implied representation of
 the existence of the state of facts in question, and the estoppel is accordingly a species
 estoppel by misrepresentation when silence is of such a character and under such
 circumstances that it would become a fraud upon the other party to permit the party who
 has kept silent to deny which his silence has induced the other to believe and act upon, it
 will operate as estoppel.

 A concealed fault is equal to a deceit, all are equal under the law, in commerce truth is
 sovereign and truth is expressed in the form of an Affidavit. (Exhibit B) An unrebutted
 affidavit stands as truth in commerce, an unrebutted affidavit becomes judgment in
 commerce, and he who leaves the field of battle first (does not respond to Affidavit) loses
 by default.

 The undersigned Creditor demands that this action be dismissed with prejudice and all
 property belonging to the Defendant be released or ordered to be released as well as all
 disbursements from the trust in accordance with the record agreement between the parties ·
 which is the law.

 Submitted this   gth   day of February 2019




                                                          ~f~~         Kenneth Paul Junior
                                       Authorized Representative and Secured Party Creditor,
                            For the Defendant/Juristic ens legis KENNETH CRAWFORD, JR

  cc
 A copy of the foregoing was hand delivered
 this gth day of February 2019
 To:
 SEAN M GREEN, attorney for Plaintiff
 THE UNITED STATES OF AMERICA
       Case 1:18-cr-00505-RBK Document 38 Filed 02/08/19 Page 3 of 13 PageID: 271


                                                                                                           No. 3553
                       CERTIFICATE OF CLAIM and ADMINISTRATIVE ,JUDGMENT
               fawfoi notification to you, pursuant to The    nm
                                                           of Rights of the National Com,frtuti<m ·


      PRFSJ.NTMENT
      B: it known, that, the person signing below, a duly empowered PRESENTER ACCEPTOR, AND
      (USTODL:\N OF RECORDS (hereafter "WITNESS'\ at the request of Kenneth Paul Jr.; Crawford, did
      ( :,ly present on 12 December 2018 the NOTICE OF DEFAULT AND CONSENT TO JUDGMENT, to the
      f11ilowing RESPONDENT(S):

      l;NITED STATES OF AMERICA
      In Care Of: Richard E. Zuckerman
      1)rincipa1 Deputy Assistant Attorney General
      U.S. Department of Justice
      950 Pennsylvania Avenue, NW
      Washington, DC 20530-0001
       (Certified r.tlail # 7017 0660 0000 8132 5837)

      by depositing in a depository of the United States l\fail within the New Jersey within a sealed envelope.

      Rf::
      THE UNITED STATES OF AMERICA v. KENNETH CRA \VFORD. JR
      UNITED STATES DISTRICT COURT Docket# 1-18-cr-00505-00l(RBK)

                          PRiVATE ADMINISTRATlVE JUDGMENT in the matter of ACCOUNT:
                                      FINAL EXPRESSION IN A RECORD


      CLAIMA!"•ff/Sccurcd Party Creditor: Kenneth Paul Jr.; Crawford, In care of John Barry. Notary Public
      c/o: 232 Amherst Ave. Pemberton, New Jersey, Non-domestic, Zip Code Exempt (DivHvl 602 1.3(e) 2)

      PRESENTER, ACCEPTOR, and CUSTODIAN OJ<' RECORDS:
      John Barry, Notary Public c/o: 232 Amherst Ave. Pemberton, New Jersey, Non-domestic, Zip Code Exempt
:,J
;,
      (DMM 602 1.3(e) 2) (Hereafter "WITNESS"}


      STATEMENT OF FACTS

         1.   Notice OfAcceptance with private settlement instruments, authorization. and request regarding
              statement of account, presented Privately under third-party record-keeper's seal by the CLAIMA1"JT
              on or about 5 November 2018 to THE UNITED STATES OF AMERICA in care of Richard E.
              Zuckerman d/b/a Principal Deputy Assistant Attorney General via Certified mail # 7013 2630 0000
              6873 3553 RRR.

         2. On 19 November 2018 the Claimant presented the Respondents the NOTICE OF FAULT 1N
            DISHONOR (Opportunity to Cure) AND NOTICE OF CLAIM AND NOTICE OF INTENT TO.
            PERFECT SECURITY INTEREST ("FAULT NOTICE'') FAIR NOTICE AND WARNING OF
            COMlv1ERCIAL GRi\CE NOTICE OF NONMJUDICIAL PROCEEDING.


      CERTIF!CA TB or CLA!M AND ADM!NlSTRAT!VE JUDGMENT                                                    Page 2 of7




                                                              .£\
'   I
          Case 1:18-cr-00505-RBK Document 38 Filed 02/08/19 Page 4 of 13 PageID: 272


                                                                                                             No. 3553

           3. As of 4 December 2018 the RESPONDENT(S) have not returned nor refoted the PRESENTMf'.NT,
               and it is deemed '"Accepted" as evidenced by AFFJDA VIT OF NON~RESPONSE AND NON-
               PERFORMANCE, executed by John Barry Notary Public, (the "WITNESS"), dated 4 December
               2018, a record of which is kept by the WITNESS.

           4. As of 4 December 2018 the RESPONDENT(S) have not responded sufficiently to the NOTICE ()F
              FAULT rN DISHONOR (Opp011unity to Cure) Al~DNOTICE OF CLAIM AND NOTICE OF
               INTENT TO PERFECT SECURITY INTEREST ("FAULT NOTJCE") FAIR NOTICE AND
               WARNING OF COMMERCIAL GRACE NOTICE OF NON-JUDICIAL PROCEEDING nor
               refuted the terms and conditions therein, and have tacitly acquiesced to terms therein. As evidenced
               by the AFFlDA vrr OF NON~RESPONSE AND NON-PERFORN1ANCE, executed by John Barry
               Notary Public, (the "WITNESS'), dated 4 December 2018, a record of vvhich is kept by the
               presenter and custodian ofrecords.

           5. On 12 December 2018 the Claimant presented the Respondents the NOTICE OF DEFAULT AND
              CONSENT 'fO JUDffMENT.


           6. As of7 January 2019 the RESPONDENT(S) have not returned nor refuted the PRESENTMENT;
              and it is deemed "Accepted" as evidenced by 3 separate AFFIDAVITS OF NON-RESPONSE AND
              NON-PERFORtv1ANCE, executed by John Barry, (the "WITNESS"}, a record of which is kept by
              the presenter and custodian of records.

           7. The RESPONDENT(S) have defaulted.

           8. As an operationoflav.r, RESPONDENTS' failure to honorthe PRESENTMENT and .FAULT .
              NOTICE places the RESPONDENT(S) in default. for the course of dealing, set fbrth herein, ,vith
              the RESPONDENTS' failure, refusal, or neglect in the presentment o'f a verified response to the .
              PRESENTMENT and FAULT NOTICE, constitutes the RESPONDENTS' failure to perfonn in
              good faith and the RESPONDENTS' acquiescence and tacit agreement vvith all terms, conditions
              and stipulations set forth within the NOTICE OF DEFA.lJLT IN DISHONOR (CONSENT TO
              JUDGMENT), the PRESENTMENT, and the FAULT NOTICE. Therefore this matter is deemed
              res judicata and stare decisis.



        Of this presentment take due Notice alld heed, and govern yourself accordingly. This FINAL
        EXPRESSION lN A RECORD is intended as a complete and exclusive statement of the terms and
        conditions of the agreement between the parties.

        CERTIFICATION OF PRESENTMENT OF NOTICE UNDER PRIVATE SEAL
        IN WITNESS WHEREOF, I, John Barry, Notary Public, under my unlimited liability and Commercial Oath,
        proceeding in good faith, being of sound mind, having first-hand knowledge, affirm, state, and declare that the
        facts contained herein are true, correct, complete and not misleading, under the penalty of perjury in the laws.
        of the united States of America.



        CERTIFICATE OF CLAIM AND ADMINlSTRJ\TlVE JUDGMENT                                                    Page3 of7
•   !
          Case 1:18-cr-00505-RBK Document 38 Filed 02/08/19 Page 5 of 13 PageID: 273


                                                                                                              No.
         I hereunto set my hand and seal on this 8th day of the first month in the year of our Lord two thousand and
         nineteen and hereby certity all the statements made above are true, correct and complete under the Penalty of
         lnternational Commercial Law.

         Whereupon, the undersigned \VITNESS signing below, for the reason default and dishonor by non-
         response/non-performance, does solemnly certify the default and dishonor as against aH parties it may
        .concern by reason of non~response/non-performance thereof and stipulations therein. This FINAL
         EXPRESSION IN A RECORD is intended as a complete and exclusive statement of the terms and
         conditions oflhe agreement bet,veen the parties.

          The entire record ofthe above statement of facts are inmy oHi.ce of business. You may request certified
        · copies of the original records and you may inspect the original records by contacting the Presenter at the
          Presenter's address listed above.

         Date of Presentment: 12 December 2018

         WITNESS Presented Under Seal:                NOTICE OF DEF AULT AND CONSENT TO JUDGMENT
             WITNESS's Certification: The above-noted parties were presented notice tbat certification of non-
          response or default within ten (10) days ofpostrnark would com.prise their acceptance of the facts set forth
                            within these instruments, the time having elapsed for response thereof:

         DEFAULT .JUDGMENT
         \\/hereupon, the \VITNESS signing below, for the reason default and dishonor by non-response/non-
         performance, does publicly and solemnly certii'.y the default and dishonor as against aH pmties it may
         concem by reason of non-response/non-perfonnance thereof and stipulations therein.


         TESTIMONY
         In testimony of the above, l have signed my name and attached my official seal.
                                                                                                                      ~--....--111,,,/11-.-...1///>""f
                                                                                                                                   JOHN 5ARRY JR.
                                                                                                                          Notary ?ublk • Srnte cf New Jers0v
                                                                                                                         My Cornmisslcn Expires J,m 1S, 2023



         John Ban:y, Notary ublic
          c/o: 232 Amherst Ave. Pemberton, New Jersey, Non-domestic. Zip Code Exernpt (DMM 602 1 J(e) 2)


         .JURAT

         New Jersey
          n                                  )~
         _I)...i<:¥~- County                )
                                                                          ··,v)            .
         Sworn to (or affirmed) and subscribed before me on this _J1..-;··· day of>-)>>d:::L('.v\__ WI!ift,y folm Barry, Notary Pub\ic,
         proved to me on the basis of satisfactory evidence to he the one who appeared before n{~, and executed the forgoing instrument for
         tlr~ purpose slat   erein and acknowledged that said execution was by h!s free act and deed.

          . ' v"---v~-~:..                               ·····---·--~\-=~\~l~-!:!::_?.~L--~~":'"::m-"""~'-db,,4;:;,.&_~li,,,.u,.Z,,,e,~l\,,,i<'C'"'.{
            iary Public's Sigmltlire                                                                        AMBER LGRH:NOUGh
                                                                                                                Notaiy P:ih\\C
                                                                                                             State of New Jersey
                                                                                                       My CommlssiM b:pirns Dec n' 201fl                              4 of7
         CERTIFICATE OF CLAIM AND t\DM!NJSTRAT!VE JUDGMENT
                                                                                                 }.,,,;;,""liP"'"'P"~"i;\;l"~"'""'"''&f·"Yill""',F'"-,ff""l:t>';;P~
'   !
          Case 1:18-cr-00505-RBK Document 38 Filed 02/08/19 Page 6 of 13 PageID: 274


                                                                                                                                        No. 3553
                                         PRESENTER'S Af.FIDAVlT OF SERVICE (4)

                            It is hereby certified, that on the date noted below, the undersigned mailed to:

         UNITED STATES OF AMERICA
         in Care , Richard E. Zuckerman
         Principal Deputy Assistant Attorney General
         U.S. Department of Justice
          950 Pennsylvania Avenue, NW
        · Washington, DC 20530-0001
          (Certified Mail 7017 0660 0000 8132 5837 RRR)

         Jn the matterofTIIE UNITED STATES OF AMERICA v. KENNETH P CRAWFORD. JR Docket# l-18-
         cr-00505-00l(RBK) the follmving:

          l. AFFlDAVTf OF SERVICE OF DEFAULT NOTICE (one leaf); and

         2. AFFIDAVIT OF NON-RESPONSE/NON PERFORMANCE REGA.RD1NG FAULT NOTICE (one
         leaf)


         by the respective USPS mail Numbers listed besides each recipient, by placing same in a postpaid envelope
         properly addressed to Recipient at the said address and depositing same at an official depository under the
         exclusive face and custody of the U.S. Postal Service within the State ofNcw J~~llt,,.;!i,...,......,._~--~


         PRESENTER N~~
                              Ac                          ·--·····\/r~.1\1
                                                                     DATE'
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                                                                                                        ,~o~,ry Pu~~l; ;c.~~~~,. ·<:r~~:j;~~!e~:11
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                                                                                                                                                             ~


         John Bany, C/o: 232 Amherst Ave, Pemberton, New Jersey, Non-domestic, Zip Code Exempt (DMM 602
          l        (2))

         JURAT

         New Jersey                       )
                                          ) ss.
         Burlington County                )
                                                                            "L,,,,.,                                    <;;\
                                                              8!1
         Swom ~o (or affirm:d) and subscribed before me ~ii~<M \ '.... ____ day of the.        ·.        .
         month m the year of our Lord two thousand and e ~ 6y John Barry, Notary Public, proved to me on the
         basis of satisfactory evidence to be the one who appeared before me, and executed the forgoing instrument
         for, proved to me on the basis of satisfactory evidence to be the one ;,vho appeared befure me, and executed
         the forgoing instrument for the purpose stated therein and acknovvledged that said execution was by his free
         aotr~nd deed.        ,
        r,    !·          v&: \
        (--A~.NJ.'},_,.. r \l.        /-~                             \-y~~:.~~~
        ~btary Public's ~'ignature                                       :D:a:te:.,,d!l/!,,,.4,.,,i//J;,,w,~~~~~-"M1
                                                                                       AMSf:P. l QREENOtH,il
                                                                                        Notary Pu\J\\c
                                                                                     state oi New Jersey.·
                                                                                         " '"11'/B" we: '1.
         CERTlflCATE OF CLAlM ANO AOMlNlSTRAT!VE JUDGMENT                      My commlst1cn cY-r,i :s             ..                   Page 5 of7
'   .         Case 1:18-cr-00505-RBK Document 38 Filed 02/08/19 Page 7 of 13 PageID: 275




         l. Tender of the above-referenced instrument(s ), by CLA l MA NT are sufficient for the discharge, s0ttkmcnt and setoff of any
         and al! debts, obligations, duties and liabilities of or re1ating to. the above-referenced CASE DOCKET# 1-18-cr-00505-001
         THE UNITED STATES OF AMERICA v. KENNETH CRAWFORD, JR.
        2. The balance due for CASE DOCKET# !-l&-cr-00505-001 THE UNITED STATES Of Al'v1ER1C/\ v. KENNETH
        CRA\VFORD. JR. is Zero and 00/100 dollars ($0.00).

        J. The RESPONDENT(S) irrevocable conveyance of any and al! rights. titles and Interests in and on any and all col!atcral in the
        association with or the security for the for CASE DOCKET# l-lS-cr-00505-001 THE UNITED STATES OF A?v1ERJCA v.
        KENNETH CRAWFORD. JR to the CLAIMANT,

        4. The RESPONDENT(S) irrevocable conveyance of the authority for the acquisition. procurement. and/or production of any and
        a!I records, documents, and/or communications necessary for the securing of any and all rights, titles and intere:m in and on an'y
        and all collateral in the association with orthc security forthe for CASE DOCKET# 1-l 8-cr-00505-001 THE UNITED STATES
        OF AMERICA v. KENNETH CRAWFORD, JR. to the CLA!MANT.

         5.    The RESPONDENT(S) waiver of any and alt claims, rights, immunities and defenses.

         6.    RESPONDENT(S) consent to CLAIMANT recording or causing to be recorded a commercial lien against the respondent as
               lien debtors for value ofno less than S44,000,000.00.
         7.    RESPONDENT(S) arc granting a specific power-of-attorney for the acquisition, procurement andlor production of any and
               al! records, docmmmt:.s, and/or communications necessary fi:>r the securing of any and all rights, titles, and interests in or
               pertaining to any and all collateral associated with or secured by the for CASE DOCKET# l-18-cr-00505-{)01 THE
               UNITED STATES OF AMER[CA v. KENNETH CRAWFORD, JR. to the CLAlMANT.
        8.    RESPONDENT(S) arc consenting with the filing of encumbrances. induding but not limited to liens, writs of possession,
              writs of execution, and writs of attachment on any and aH property, fixtures. act::ounts, and public hazard bonds by the
              CLA!t,.1ANT against the RESPONDENT(S) up to the amount of the value of CASE DOCKET# 1-J 8-cr-00505-001
                    UNITED STATES OF AMERICA v. KENNETH CRA \VFORD, JR. for any and al! actions taken by the
              RESPONDENT(S) with the hindering, impeding, obstruction and/or delaying of the CLAIMANT rights, title;; and imerests in
              any and all collateral in the association with or the security for th0 for CASE DOCKET# 1-l S-cr,00505-00 l THE UNITED
              STATES OF AMERICA v. KENNETH CRAWFORD, JR ..
    9;        RESPONDENT(S) are consenting with the filing of encumbrances, including but not limited to liens, writs of posses:sion,
              ,vrits of execution, and writs of attachment, on any and aH property. fixtures, accounts, and public hazard honds by the
              CLAIMANT against the RESPONDENT(S) up to the amount of CASE DOCKET# 1-l 8-cr-00505-00 l THE UNITED
              STATES OF Ai\fERICA v. KE?\1NETH CRAWFORD, JR. for any and all actions taken by the RESPONDENT(S)
              with the semblance of harassment, cocrciou. defrauding, andior defumation of the CLA.lMANT and/or the CLAI.1\-iANT's
              collatcraL
        HL RESPONDENT{SJ are consenting ma FEE SCHEDULE with CLAJMANT as fi,!!ows:
                       The following schedule of foes is effoctive upon the date oft.he Recipient's Default in Dishonor. These foes are
                       subject tu change upon written notice by the CLAIMANT tn the REClPlENT(S}.

                       Section I
                       Notice: Section l is a sched11le of fees that are to be prepaid by the RESPONDENT(S) to the
                       CLAIMANT before the execution of anv., of the following acts bv. the CLAIMANT or the
                                                                                            ~




                       CLAilvfANT s agents or assigns.

                               Description                                                                   Rate
                               Arbitration hcaring(s) regarding the above referenced                         $5.000/hearing*
                               Docket

        CERT!F!CATE OF CLAIM AND ADMINISTRATIVE jUDGMENT                                                                            Page 6 of 7
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                                                                                                                                                                                     No. 3553
                                Court hcaring(s) regarding Docket# i., 18-cr-00505M                                                             $10,000/hearing*
                                  l
                                Mediation hearing(s) regarding the above reforenced Docket                                                        5Jl00111caring*

                                Fomv.tl/informal meeting regarding the above referenced
                                Docket




                      Section 2
                      Notice: Section 2 is a· schedule of fees that are to be paid by the RESPONDENT(S) within three
                      (3) days from receipt of any 11woiccs issued by the CLAIMANT to the RESPONDENT(S) for the
                      execution of any of the following acts by the CLAIMANT or the CLAlMANT's agents or
                      assigns.

I

I
I

                           Telephone communications regarding the above reforenced                                                         $10/minutc
                           Docket
                           Electronic communications regarding the above referenced                                                        $200/trnnsmission*
                           Docket


              ".          The fees for the acts described accrue in addition to the hourly rate for time expended .



                      .
            For the RESPONDENT's failure to Provide an accounting!dismissal showing a S0.00 Balance (hi;reafter "RECEIPT") for the
         . above referenced for CASE DOCKET# 1-lli-cr-00505-001 THE UNITED STATES OF AfvlERlCA v. KENNETH
            CRAWFORD, JR. shall potentially jeopardize CLAIMANT'S rights, titles, and interest in the said property: and therefore
            CLAIMANT hereby makes an offer to conditionally accepr RESPONDENT's failure to ProviJe RECEIPT upon the pre-paymi:mt
            of a sum equal to three times the value of CASE DOCKET # l -l 8-cr-00505-00 l THE UNITED STATES OF A?viERlCA v.
          . KENNETH CRAWFORD, JR..

          Furthermore, for the RESPONDENT'S failure of thdr duty to remove negative reporting, CLAIM.ANT hereby nfl:brs for your
          acceµumce or dishonor, payment from RESPONDENT for the necassary time expended for CLAIMANT or CLA!MANT's
          assigns for the contacting of the Credit Bureau and/or Credit Agencies in the efforts for removal of negative reporting in reference
          to the for CASE DOCKET# 1-18-cr-00505-001 THE UNITED STATES OF AMERICA v. KENNETH CRA \VVORD, JfL A
               for this shall constitute Five-Hundred United States Dollars ($500.00 USD) µer hnur (S12,000.00 USD) per day.




          CERTlFlCATE OF CLAIM AND ADMlNJSTRATlVE JUDGMENT                                                                                                                           Page 7 of7
,   '   t,   "
                       Case 1:18-cr-00505-RBK Document 38 Filed 02/08/19 Page 9 of 13 PageID: 277
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                                                                                                                     ATLANTIC COUNTY, NJ
                                                                                                                     EDWARD P. tkGETTI GArh CDUMTY Cl.ERV..
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                 Submitting Company

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                 No. of Pages of the Original Signed Document                                                         J                               '
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                 Consideration Amount (If applicable)
                                                               (Last Name, First Nane Middle Initial, Suffix) .
                                                  Name (s)                                                                     Address   (Optional)
                                                             I (or Co.mpany Name as written)
                 First Party
                 (Grantor or Mortgagor or
                 Assignor)
                 (Enter up to five names)



                                                             ·1 (Last Name, First Nane Middle Initial, Suffix)
                                                  Name (s)                                                                    Address (Optional)
                                                               (or Company Name os Written)
                 Second Party
                 (Granti!e or Mortgagee or
                 Assignee)      ·
                 (E.nter up to five n_ames)




                                                        Munjcipality                 Block                 Lot            Qualifier           Property Address
                 Parcel lnformatjon
                 · (Enterup to three entries)



                                                         Book Type                   Book           Beginning Page   Instrument No.           Recorded/File Date
                 Reference Information
                 (Enter up to·three entries)


                                                                               *DO NOT REMOVE THIS PAGE*
                      DOCUMENT SUMMARY SHEET (COVER SHEET) IS PART OF ATLANTIC COUNTY FILING RECORD. RETAIN THIS PAGE FOR FUTURE REFERENCE.
q        '   •
                  Case 1:18-cr-00505-RBK Document 38 Filed 02/08/19 Page 10 of 13 PageID: 278




                 -·       s            .,          ,.,.       .!'''       •
                  H:                            • •"      ~           •              • ,

                 UCC FINANCING STATEMENT
                 FOLLOW INSTRUCTIONS
                  A. NAME & PHONE OF CONTACT AT FILER (optional)


                 8. E-MA!L       CONTACT AT F!LER(optional)
                      Crawfordgroup@comcast.net
                 C. SEND ACKNOWLEDGMENT TO: {Name and Address)

                      j
                                                                                                                            '
                              Kenneth Paul Jr.
                              clo: 117 Liberty Court
                              Galloway, New ;Jersey
                              Non-domestic, Zip Code Exempt (DMM 602 l.3(e) 2)
                      L                                                                                                      _J
                                                                                                                                                 THE ABOVE SPACE IS FOR FILlNG OFFICE USE ONLY
                 1. DEBTQR'S NAfv\E: Provide cmly .O£t: Oebt:ir name (ia or 1b} (uM~ exacti foil ,~ame; do noi c:infl. modify,' or abbravii:JIC any part cc! Inc, o..,bmr's, n.M1~J; if any part Gf tM 1rim·1i.Cts~I .Debtor's
                    narnet: wlli Ml flt ln \ins lb, lo~vE!' all o! item 1 btanl<. r.r'n:;CY. hero    O
                                                                                                  smd pruv\.Ue lhl! tn<.1!1i1oua! Or:t,tor information In item 10 of lho Fin;mc-ing;, S~tcn10r,t P..ddtndum (Farm UCC1Adj
                      1a. ORGANIZATION'S NAME
                          UNITED STATES OF AMERICA in care of Richard E.Zuckerman d/b/a Prine. Dep. Ass. A.G.
                 OR                                                                             .                                                                                                    -~---•-·
                          10. !ND!V!OUAL'S SURNAME .,                          . .                  ..   .         FIRST PERSONAL NAME                                    lADDmONAL NAME(S)i!N!TIAl.{S)      /lUFFlX

                      1
                 1c. iv'AILING ADDRESS                                                                             CITY
                                                                                                                                                                     .
                                                                                                                                                                          ISTATE     I  POSTAL CODE                  COUNTRY
                  950 Pen~syivaQia Avenue, NW                                                                       Washington                                            1DC           20530-0001                   USA
                 2_. DEBTOR'S NAME; Piovidc. onf;i ~ Ccbtor namo (2a or 2o; (µsa exact, full na.'Tle; do not QIT:il, rnat:ify. er abbrP.Jiate an)' part of lhO ~otr-<!'~ name); ,f any p,m at tna lndiY~u.ai Ocbior'i
                  .. njffie Wili    non~
                                 ih ·_11_ne :2b, lca-J!?. ali Of item: 2 niaril<~-oheck hr;ro"       0
                                                                                               ar,d ;::rC\-ide the lmfi...'idual t)et)t;-{ inkmnafon /r. ;lem 10 i:;f 1h~ rlna;1Ci~9 Sta-.omcn,t Addendum (Form UCC1At!}
                      [2a. ORGAtl!ZATlON'S NAME

                 OR             ' ..        '                  ' •'
                          2o. lNDNIDUAL'S SURN/IME                                                                 FIRST PERSONAL NAME.                                    ADDITION/1.l NAME!S)i1N1Ti1'J.(S1


                 2c. MAILING ADDRESS                                                                               C(TY                                                                                             lCO'JtJTRY


                 3 SECURED PARTY'S NAME •or NAM5 of ASSIGNEE of ASSIG,'10R SECURED PART',t                                        Pm-,i<;e cn!-1
                                                                                                                                                                                                                    l
                                                                                                                                              ·. nna S«llred Party"""'" (-<a or :il;i
                          3.a. ORGAf4lZATION.,S NAME


                 OR
                          3ti. JNQ{VIOUAl."S. SURNAM_E                                                             FIRST PEP.SOS.>,;. NM:,E                                AOornonAL NA..",,1asr-3t.;1: IAL(S}       S!JF;y;
                          Crawford                                                                                  Kenneth                                                   Paul                                    Jr.
                 3c. MA!L!NG ADDRESS                                                                               crrv                                                    STATE     rOST;.iCCDE                     CO'.!NT?.Y

                  c/o: 117 Liberty Court                                                                            Galloway, New Jersey                                                Exempt                        U.SA
                                -                                                          ..
                 4. COLLA: ERAL: Tnis f.nanc:.,ng s:atnrner.t .;a1e:r5, 't'\e ,o!lowlng cnlio~~
                  l.CERTIFICATE OF CLAIM AND ADMINISTRATIVE JUDGMEJ"sT dated 8 .Tan. 2019 between the Debtor and Secured
                  Party, instrument No. 3553; Notice of lien hold interest in any proceed.<; colfocted for lJNITED STATES DISTRICT COURT
                  Docket# 1-l8-cr·00505-001(RB~i • THE UNITED STATES OF Al\IERICA v. KENNETH CRAWFORD, JR; S1..>cUrity
                  agreement conveys and grants: I.Specific Power .of Attorney to secured party or his agents or assigns to t.~ecute
                  and me any and all.documents necessary on behalf of.Debtor for the securing of any and all rights, titles, and. interests in or
                  pertaining to any and all collateral associated with or secured by the Secured Party for CA.SE DOCKET#l-18-cr..00505·001
                  (RBK) : 2.Dehtors waiver of any and all claims., rights, immunities and .defenses. 3. Debtors are consenting with the filing of
                  encumbrances, including but.not limited to liens, writs.of possession, writs of execution.and writ,; of attachment, on any and
                  all property, fixtures, accounts, and public hazard bonds by the S~ured Party. 4. Debtors are consenting fo a ltEE
                  SCHEDULE with Set.-ured Party. 5. Vatui;,,of Collateral equals $66,000,000.00 Sixty Six Million USD.




                 5', Check' ~ i f a,ppficablc. ~~ ct1eclr. ~ Orm bor.: C-?li~t~,:21. is· Ot-.e_!C in a Trt.st {see UCC1Ad, item 17 and in!>lruct\o:ns.j              hcir,3 adm1t1is1e,e!:l l>v a D~ud6ni's P,,rsonat Rop,eimntatwa
                 ~a, Ch~k Q!!!1.ifa?pif~~it1 ilndc.11eck.en!3! o~e box~                                                                                          t6b. Ctiee:kru!!'tlf applfc.abie and ctw.:.1': ~OM b-:51':

                      0       ?u:llic-Finance TrnnScsc'Jcq                    O Mai:tL'faciur~d-Homo Tran~cu-,n           A. Oehtor is a rranam1Wna LIU~lt       f       O AQri:uln.1rai Lien O Nc-n-OCC 'Fdir.g
                 7. ALTEFH,ATM:: DES!GNATIONJo! appl~blej:                          0 Lessee1t.essor          O   Consignee/Consi9?1or          O Se!iM!lu-;er            O Ba~ecJBailcr        O LiWnscc,'l.i:eosor
                 8. O?TION-".L FILER REFERENCE DATA:
                  CERTIFICATE OF CLAIM A~1> ADML'\'ISTRATIVEJUDGMENT 7013 2630 0000 6873 3553
                                                                                                                                                lntematlonal Association of Commercial Administrators tlACA)
                 FILING OFFICE COPY- UCC FINANCING STATEMENT {Form UCC1) (Rev. 04120{11)




-----··-------------------••••-·•-••-•••-•••HH'O""•••H•••••-•••--••-•H•--••'"
"l   '   l   .~   Case 1:18-cr-00505-RBK Document 38 Filed 02/08/19 Page 11 of 13 PageID: 279


                                                                                                  B
                                  REQUEST REGARDING A STATEMENT OF ACCOUNT
                    To:          RICHARD E. ZUCKERMAN
                                 Tax Division
                                 P.O. Box 972
                                 Washington, D.C. 20044



                    From:        Kenneth Paul Jr. of Crawford
                                 c/o: John Barry, Notary Public
                                 232 Amherst Ave.
                                 Pemberton, New Jersey

                                     Indictment on case# l-18-cr-00505-001 THE UNITED STATES OF
                                   Re:
                                   AMERICA v. KENNETH CRAWFORD, JR

                    Pursuant to the Uniform Commercial Code§ 9-210 and its implementation in the State ofNew Jersey, this is a record
                    authenticated by the debtor requesting that the recipient approve or correct a statement indicating what the debtor
                    believes to be the aggregate amount of unpaid obligations secured by collateral as of a specified date and reasonably
                    identifying the transaction or relationship that is the subject of the request. Recipient has fourteen (14) days to comply
                    with this request and provide an authenticated record. If a response is not received in the time provided, your non-
                    response will be construed as your tacit acquiescence and your acceptance and honoring of this instrument as a true
                    Statement of Account.                                                                                                                       I
                                                                                                                                                                I
                                                                STATEMENT OF ACCOUNT:                                                                          :I
                                                        Date:                             November 5, 2018

                                                        Account No.:                      1-18-cr-00505-001

                                                        Original Creditor:                Kenneth Paul Jr.; of Crawford

                                                        Servicer:                         UNITED STATES DISTRICT COURT, CAMDEN

                                                        Debtor:                           KENNETH CRAWFORD, JR

                                                        Balance Due:                      $0.00

                    IN WITNESS WHEREOF I hereunto set my hand and seal on this
                                                                                           - J"'="t'-\                   .
                                                                                                                   day of the.
                                                                                                                              l {±L.           month in the
                    year two thousand and eighteen and hereby c.1a:rtify all the statements made above are true, correct and complete under the penalty of
                    perjury in the laws of the United States of America.




                    New Jersey                                                    Y
                                                                                  ) ss.
                    Atlantic County
                    Sworn to (
                                                       .                  .
                                  ffirrned) and subscnbed before me on this
                                                                                  )
                                                                                   /f ·
                                                                                          ±
                                                                                         IA
                                                                                         ::i day of the
                                                                                                                () /"
                                                                                                                A.
                                                                                                                                     .
                                                                                                                              month m the year two thousand
                                                                                                                                                           .
                    and eight, e     Kenneth Paul Jr.; of Crawford, proved to me on the basis of satisfactory evidence to be the one who appeared before me,
                    and execu    the forgoing instrument for the purpose stated therein and acknowledged that said execution was by his free act and deed.

                             i                                                                    ·   J/t:;/ f1
                                                                                                      Date




                                                                              JOHN BARRY JR                  ·
                                                                    Notary Public . State of N~w
                                                                  My Commission Ex .        . Jtrsey
                                                                    -             prres Jan 18, 202J .
Case 1:18-cr-00505-RBK Document 38 Filed 02/08/19 Page 12 of 13 PageID: 280




               REQUEST REGARDING A STATEMENT OF ACCOUNT
  To:        RICHARD E. ZUCKERMAN
             Tax Division
             P.O. Box972
             Washington, D.C. 20044



  From:     Kenneth Paul Jr. of Crawford
            c/o: John Barry, Notary Public
            232 Amherst Ave.
            Pemberton, New Jersey

               Re: Indictment on case# 1-18-cr-00505-001 THE UNITED STATES OF
               AMERICA v. KENNETH CRAWFORD, JR

  Pursuant to the Uniform Commercial Code § 9-210 and its implementation in the State of New Jersey, this is a record
  authenticated by the debtor requesting that the recipient approve or correct a statement indicating what the debtor
  believes to be the aggregate amount of unpaid obligations secured by collateral as of a specified date and reasonably
  identifying the transaction or relationship that is the subject of the request. Recipient has fourteen (14) days to comply
  with this request and provide an authenticated record. If a response is not received in the time provided, your non-
  response will be construed as your tacit acquiescence and your acceptance and honoring of this instrument as a true
  Statement of Account.

                                             STATEMENT OF ACCOUNT:

                                     Date:                            November 5, 2018

                                     Account No.:                     l-18-cr-00505-001

                                     Original Creditor:               Kenneth Paul Jr.; of Crawford

                                     Servicer:                        UNITED STATES DISTRICT COURT, CAMDEN

                                     Debtor:                          KENNETH CRAWFORD, JR

                                     Balance Due:                     $0.00

  IN WITNESS WHEREOF I hereunto set my hand and seal on this                                  day of the                  month in the
  year two thousand and eighteen and hereby certify all the statements made above are true, correct and complete under the penalty of
  perjury in the laws of the United States of America.


                                                                                          Kenneth Paul Jr.; of Crawford

  New Jersey                                              J   )
                                                              ) ss.
  Atlantic County                                             )
  Sworn to (or affirmed) and subscribed before me on this                    day of the                    month in the year two thousand
  and eighteen by Kenneth Paul Jr.; of Crawford, proved to me on the basis of satisfactory evidence to be the one who appeared before me,
  and executed the forgoing instrument for the purpose stated therein and acknowledged that said execution was by his free act and deed.



  Notary Public's Signature                                                    Date
 Case 1:18-cr-00505-RBK Document 38 Filed 02/08/19 Page 13 of 13 PageID: 281




   Kenneth Paul Jr. Crawford                                                       INVOICE
   11 7 Liberty Court
   Galloway, New Jersey
   Non-domestic

       Richard E. Zuckerman
       Principal Deputy Assistant Attorney General
       P.O. Box 972
       Washington, D.C. 20044
                                                                    Invoice # 0004
                                                                    Invoice Date: 8 February 2019
                                                                    Due Date:     8 February 2019




Item         Description                     Unit Price           Quantity      Amount

Time          Court hearing(s)             $10,000.00 USD             1       $10,000.00
              regarding Docket
            . #l-18 .. cr-00505-00l(RBK)




Time       Time expended prepearing for     $1,000.00 USD            3         $3,000.00
           "Status Conference"




                                                          Total           $13,000.00
